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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 CATHERINE MCKOY, et al.,                                     :
                                              Plaintiffs, :             18 Civ. 9936 (LGS)
                                                              :
                            -against-                         :              ORDER
                                                              :
 THE TRUMP CORPORATION, et al.,                               :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on November 21, 2022, Plaintiffs filed a letter requesting that a trial date be set for

October 2023. On November 22, 2022, Plaintiffs filed a further letter modifying this request in light of

another trial. On November 30, 2022, Defendants filed a letter in opposition.

        WHEREAS, an Order issued December 5, 2022, required the parties to file letters regarding their

availability for trial. On December 9, 2022, the parties filed the required letters. It is hereby

        ORDERED that a jury trial in this case will begin on January 29, 2024, at 9:45 AM. The trial

date is firm, as the trial is scheduled far advance to accommodate the parties’ stated availability in their

letters. It is further

        ORDERED that in accordance with and as provided in Individual Rule IV.B:

        (1) Any motions in limine shall be filed by November 10, 2023. Responses to the motions shall

             be filed by November 22, 2023. No reply shall be filed. The parties shall follow the Court’s

             Individual Rules regarding such motions.

        (2) Joint requests to charge, voir dire, verdict forms, and any memorandum of law, as provided

             in the Court’s Individual Rules, shall be filed by November 22, 2023.

        (3) The final pretrial order shall be filed December 1, 2023.

Dated: December 13, 2022
       New York, New York
